Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 1 of 57 Page|D# 611

Fz!..r:n

UMTED sTATEs DISTRICT coURT wl NG`! 'q 13 “‘ 05

""' u»“ \';=15'\‘¢11¢1 comm
.Y\Ae°a$ai,'\. \.'\RG'.:~:!A

UNITED STATES OF AMERICA, EX Civil Action No: 1:11 CV 1209
REL [UNDER SEAL]' TSEleD
Plaintiff, FIRST AMENDED COMPLAINT
v.
[UNDER SEAL]
Defendants

FILED IN CAMERA AND UNDER SEAL

DO NOT ENTER IN PACER

. ",.)

{00045031; 9}

Case 1:1,1-cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 2 of 57 Page|D# 612

UNITED STATES DISTRICT COURT
FOR TI~[E EASTERN DISTRICT OF V]RGlNIA

UNITED STATES OF AMERICA, EX Civil Action No: 1111 CV 1209
REL. TIMOTHY STINSON TSE/lDD
Plaintiff, FIRST AIV[ENDED COMPLAINT FOR
VIOLATION OF FALSE CLAIMS
v. ACT, 31 U.S.C. § 3729 E'I`SEQ., AND
DEMAND FOR IURY TRIAL

RECON INTERNATIONAL, a Louisiana
corporation, RIK LTD, a United Arab
Emirates Corporation, RECON
GENERAL 'I`RADING, a United Arab
Emirates Corporation, DAVID CAIN,
AND KENNETH G. TRASCHER

Defendants

FILED IN CAMERA AND UNDER SEAL

PURSUANT TO 31 U.S.C. § 3730(b)(2)

DO NOT ENTER IN PACER

{00045031', 9}

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 3 of 57 Page|D# 613

I. INTRODUCTION ...................................................................................................... 2
II. PART[ES .................................................................................................................... 7
III. IURISDIC'I`ION AND VENUE .............................................................................. 9
IV. CONTRACT AND REGULATORY BACKGROUND ....................................... 10
A. The Grave1 Contract and RCC Contracts ........................................................... 12
B. LOGCAP IV Contracts ...................................................................................... 15
C. RECON was Required to Comply with the Anti-Kickka Act ........................ 21
D. Safety and Security Regulations in Af`ghanistan ................................................ 22
E. Prohibitions on Retaliation for Protected Activity...; ......................................... 24

V. DEFENDANTS DEFRAUDED THE GOVERNMENT BY FALSELY CLAII\/I[NG
PAYMENT FOR THOUSANDS OF CUBIC METERS OF GRAVEL THAT WERE
NEVER DELIVERED AND BY MISREPRESENTING THE TYPE OF GRAVEL
PROVIDED ...................................................................................................................... 24
VI. DEFENDAN'I`S KNOWINGLY PURCHASED GOODS ORIGINATING IN
IRAN FOR USE ON GOVERNMENT CONTRACTS AND CONCEALED THAT
INFORMATION FROM THE GOVERNMENT ............................................................ 33
VII. DEFENDANTS VIOLATED SECURITY REGULATIONS BY
CONTRACTING WITH VENDORS ON THE TERRORIST WATCH LIST BANNED
FROM MILITARY BASES AND PROH[BITED FROM GOVERNMENT

CONTRACTING .............................................................................................................. 36
VIII. DEFENDANTS CAUSED FLUOR TO SUBMIT FALSE CLAIMS FOR
PAYMENT TO THE GOVERNl\/IENT ........................................................................... 44

A. Defendants Used On Multiple Contracts Equipment And Labor Exclusively
Designated for One Contract And Falser Certif`led That Such Labor and Equipment

Was Available For Exclusive Use 24 Hours A Day, 7 Days A Week .......................... 47
B. Defendants Instructed Employees 'I`o Falsify Timesheets and Submitted For
Approval and Payment Fraudulent Records For Labor ................................................ 58

C. To Verify Costs, Defendants Knowingly Submitted to Fluor Invoices and Other

Documents That Were Inaccurate and Included Inflated, Duplicative and/or

Unnecessary Spending .................................................................................................. 75
IX. DEFENDANTS PARTICIPATED IN A BID-RIGGING SCHEM]E WITH A
GOVERNMENT CONTRACTING OFFICER DESIGNED TO FRAUDULENTLY

INDUCE CONTRACTS WITH THE GOVERNMENT ................................................. 85
X. DEFENDANTS VIOLATED MINIMUM LABOR S'I`ANDARDS INTENDED TO
PREVENT FORCED LABOR ......................................................................................... 86

XI. DEFENDANTS VIOLATED THE ANTI-KICKBACK ACT BY ALLOWING
OFFICERS TO SOLICIT AND RECEIVE PAYMEN'[` FROM LOCAL VENDORS IN

ORDER TO AWARD SUBCONTRACTS ...................................................................... 91
XII. DEFENDANTS UNLAWFULLY RETALIATED AGAINST RELATOR ......... 94
XIII. STATEMENT OF CLAIMS ............................................................................ 105
XIV. PRAYER .......................................................................................................... 109
XV. DEMAND FOR JURY TRIAL ........................................................................... 110
¢00045031;9} _ 1 -

 

lSl AM. COMPLAIN'I`

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 4 of 57 Page|D# 614

Qui Tam Plaintiff Timothy Stinson, through his attomeys, on behalf of the United
States of America, for his Complaint against defendant RECON International, Inc., its
corporate counterparts RIK LTD and RECON General Trading (“RECON”), and their
owners David Cain and Kenneth G. Trascher (collectively, “Defendants”) alleges, based

upon personal knowledge and relevant documents, as follows:
I. INTRODUCTION

1. This is an action to recover damages and civil penalties on behalf of the United
States of America arising from false and/or fraudulent records, statements and claims
made, used, presented, and caused to be made, used or presented by Defendants and/or
their agents, employees and co-conspirators, in violation of the Federal Civil False
Claims Act, 31 U.S.C. § 3729 et seq. (“the FCA”).

2. Defendants’ conduct described herein violates the FCA. The FCA was originally
enacted during the Civil War and was substantially amended in 1986. Congress amended
the statute to enhance the federal govemment’s ability to recover losses sustained as a
result of fraud against the United States after finding that fraud in federal programs was
pervasive, and that the statute, which Congress characterized as the primary tool for
combating government fraud, was in need of modernization. Congress intended that the
amendments create incentives for individuals with knowledge of fraud against the United
States to disclose that information without fear of reprisals or government inaction, and to
encourage the private bar to commit legal resources to prosecuting fraud on the

govemment’s behalf.

100045031;9; - 2 -
lsl AM. COMPLAINT

 

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 5 of 57 Page|D# 615

3. The FCA prohibits knowingly presenting, or causing to be presented, to the
federal government a false or fraudulent claim for payment or approval. 31 U.S.C. §
3729(a)(1)(A). Additionally, the FCA prohibits knowingly making, using, or causing to
be made or used, a false or fraudulent record or statement material to a false claim. 31
U.S.C. § 3729(a)(1)(B). Any person who violates the FCA is liable for a civil penalty of
up to $11,000 for each violation, plus three times the amount of the damages sustained by
the United States. 31 U.S.C. § 3729(a)(l).

4. For purposes of the FCA, a person “knows” a claim is false if that person: “(i) has
actual knowledge of [the falsity of] the information; (ii) acts in deliberate ignorance of
the truth or falsity of the information; or (iii) acts in reckless disregard of the truth or
falsity of the information.” 31 U.S.C. § 3729(b)(1). The FCA does not require proof that
the defendants specifically intended to commit fraud. Id. Unless otherwise indicated,
whenever the words “know,” “learn,” “discover," or similar words indicating knowledge
are used in this Comp|aint, they mean knowledge as defined in the FCA.

5. The FCA allows any person having information about an FCA violation to bring
an action on behalf of the United States and to share in any recovery. Such persons are
referred to as “qui tam plaintiffs” or “relators.” The complaint must be filed under seal
for a minimum of 60 days (without service on the defendant during that time) to allow the
United States Government (hereafter “Government”) time to conduct its own
investigation and to determine whether to join the suit. Based on these provisions, qui
tam plaintiff and relator Timothy Stinson (hereafter “Relator") seeks to recover all

available damages, civil penalties, and other relief for the violations alleged herein.

{0004503|; 9} _ 3 _
1st AM. CoMPLAINT

 

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 6 of 57 Page|D# 616

6. As described in more detail below, Defendants entered into a contract with the
Govemment to provide gravel necessary for the construction of Camp Leathemeck, a
military camp operated by the United States Marine Corps, and other forward operating
bases (“FOBs”) in southern Afghanistan. The contract provided that the United States
would pay Defendants a firm fixed price based on the quantity of gravel that was
delivered. RECON would certify and submit daily forms with records of their deliveries
to the Govemment for approval. After completion of an order, RECON would submit the
invoice for payment based on the total quantity of material delivered. During the course
of performance of the contract, Defendants routinely and knowingly inflated the amount
of gravel they reported delivered to Camp Leathemeck and thereby caused the
Govemment to pay for material (gravel) it never received. In addition, Defendants
knowingly tendered types of gravel that they knew did not meet the specifications of the
contract.

7. Defendants violated the FCA by knowingly submitting for approval to the United
States transportation forms with falsely inflated quantities of gravel and false descriptions
of the type of gravel that they knew were not in fact supplied and submitting invoices for
payment based on those inflated quantities and false product descriptions Defendants
falsely certified to the Govemment the accuracy of their records while in fact they were
continually and systematically including types and amounts of gravel that they knew
were never delivered or did not conform to the requirements of the contract. Through
this process, Defendants charged the Govemment for tens of thousands of cubic meters of

gravel that were never provided and were not of the type specified

¢00045031;9; - 4 -
1st AM. COMPLAIN'I`

 

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 7 of 57 Page|D# 617

8. In addition to the gravel contract, during the period of 2008-2011, Defendants
entered into numerous other direct contracts with the Govemment for construction and
materials, including contracts to build Pre-Engineered Buildings at Camp Leathemeck in
Helmand Provence, Afghanistan, in connection with which they violated the FCA in four
ways. First, despite an express Govemment prohibition against using material imported
from lran, Defendants knowingly and routinely purchased goods originating in Iran for
use on Govemment contracts in order to keep its costs low. Second, defying express
prohibitions against contracting with an identified security risk. Defendants knowingly
contracted with a vendor on the ‘“Terrorist Watch List” and continued its business
dealings with that vendor in order to avoid increasing payments to subcontractors Third,
Defendants knowingly demanded kickbacks from local Afghan vendors in exchange for
awarding subcontracts to supply materials under their Govemment contracts. Fourth,
Defendants participated in a bid-rigging scheme with a military contracting officer
designed to maximize profit by using insider knowledge of competitors’ bids.

9. Through these fraudulent schemes and practices, Defendants have illegally sought
and obtained payment under numerous construction and materials contracts with the
Govemment, knowing the Govemment would not have entered into such contracts or
made such payments if it knew the true state of affairs.

10. In addition to direct contracts, between at least 2008 and 2010, Defendants also
violated the FCA in connection with work they did on the LOGCAP IV contract as a
subcontractor of Fluor Intercontinental, Inc. (“Fluor”) in three ways. With each of these

practices, Defendantssubmitted to Fluor fraudulent documents or made false statements

{00045031;9} - 5 -
lst AM. COMPLAINT

 

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 8 of 57 Page|D# 618

to Fluor in order to obtain payment from Fluor, whose costs Defendants knew were being
reimbursed by the Govemment. With each of these three practices, RECON knowingly
caused Fluor to submit false claims for payment to the Govemment.

11. First, in connection with a contract for loading and unloading military flights,
Defendants failed to provide equipment and staff that was dedicated exclusively to this
contract and instead used this equipment and staff on multiple government contracts,
thereby causing the U.S. Govemment, through reimbursing Fluor, to pay for the same
equipment multiple times, and pay for services that were not fully rendered.

12. Second, Defendants engaged in a systematic practice of timekeeping fraud,
whereby they falsified information regarding the amount of time employees worked on
various LOGCAP IV subcontracts and the projects on which employees worked and
submitted these falsified and artificial time sheets and records to Fluor for payment.

13. Third, after agreeing to finalize price terms in various LOGCAP IV contracts
based on provable costs or records, Defendants submitted false invoices and receipts to
Fluor as proof of costs that they could not verify accurately correlated to projects
completed. By creating and maintaining faulty records, Defendants routinely billed Fluor
for work whose costs Defendants knew could not be verified and for materials (such as
excess steel) that Defendants knew were not used on or needed under the contract.

14. Finally, in connection with its performance of both direct Govemment contracts
and LOGCAP IV subcontracts, Defendants also withheld workers’ passports and failed to
maintain basic safety standards for its workers, in order to keep its labor costs low, in

direct violation of legal and contractual obligations.

{00045031;9} _ 6 -
1St AM. COMPLA[N'I`

 

Case 1:11-Cv-01209-TSE-|DD Document 8 Filed 11/09/12 Page 9 of 57 Page|D# 619

15 . Through these various fraudulent schemes, Defendants have illegally sought
payment from the Govemment (both directly in the case of direct contracts and indirectly
through the prime contractor in the case of the LOGCAP IV contracts) for costs that were
not verified or properly vetted. Furthermore, it billed Fluor and the Govemment for
contracts that it specifically knew would never have been approved for payment, thereby
fraudulently causing the Govemment to pay claims.

16. In addition to the FCA violations, Relator seeks in this action to recover damages
resulting from RECON’s retaliation against him for lawful acts he took to stop or in

furtherance of other efforts to stop one or more violations of the False Claims Act.
II. PARTIES

17. The United States (or “Govemment”), the real party in interest herein, entered
into contract number W91B4L-09-D-0029 with RECON Intemational to purchase gravel
on January 23, 2009 (“the Gravel Contract”). The Regional Contracting Center (“RCC")
located at the Kandahar Air Base in Afghanistan, solicited and administered the Gravel
Contract. The RCC reported to the Joint Contracting Command~lraq/Afghanistan (“JCC-
I/A”), which was located in Baghdad, Iraq. JCC-I/A was under the responsibility of the
Deputy Assistant Secretary of the Army for Policy and Procurement in the Pentagon in
Arlington, Virginia. The United States has also entered into numerous additional
contracts with RECON since 2009, including, inter alia, contracts for the provision of
prefabricated and portable buildings, insulation, and construction of various camp

facilities.

¢0004503\;9; _ 7 _
lsl AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 10 of 57 Page|D# 620

18. Timothy Stinson is the Qui Tam Plaintiff/Relator in this action (hereafter,
“Relator") and is a resident of Curtis Bay, Mary|and. From February 2010 through
December 2010, Relator was a resident of Marshall, Virginia. Relator began working for
RECON Intemational, Inc. (“RECON International” or “RECON”) in 2006. He worked
at RECON for several months as an independent contractor, and returned in 2008 as an
employee. Throughout 2008 and 2009, Relator directed security operations for RECON,
in the position of 2IC, or Second in Command, to the Manager at Camp Bastion, and later
Deputy Country Manager, and served as an informal labor representative for RECON’s
staff of foreign and domestic workers. While working for RECON, Relator earned a
position of trust among the staff. It was through this position that staff members
regularly consulted with him about concerns regarding the company, and eventually
disclosed to him information and documentation about ongoing fraudulent activities,
including the gravel fraud, M]£B fraud, and kickback violations described herein. Re|ator
had an employment relationship with RECON until his retaliatory constructive discharge
in early October 2010.

19. Defendant RECON lntemational (“RECON”) is a closely held corporation
incorporated in Louisiana with a principal place of business in Dubai, UAE. It also has
offices at Camp Bastion, Afghanistan. Camp Bastion is adjacent to Camp Leathemeck, a
United States Marine Corps camp located in Helmand Province in Southem Afghanistan.
RECON Intemational began its operations in 2003, and since then it has participated in
numerous contracts for the Govemment, including the Gravel Contract, various

construction and materials contracts, and the LOGCAP IV contract referenced herein.

¢00045031;9t _ 8 _
1st AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 11 of 57 Page|D# 621

20. Defendants RIK LTD (RIK) and RECON General Trading are corporate
counterparts to RECON International, with offices in Dubai, UAE. RIK is owned by
Kenneth Trascher and David Cain, and is believed to be the UAE headquarters of
RECON’s operations. RECON General Trading is also believed to be owned_by Trascher
and Cain, in addition to RECON Head Engineer, Richard Thompson. RECON General
Trading is engaged in sales of construction materials acquired through its contracting
operations. The exact corporate structure of these companies is unknown, although Cain
and Trascher exercise complete control over all the corporate entities.

21. Defendant David Cain is a founder and co-owner of RECON International. Mr.
Cain currently resides in the UAE. and is believed to have a United States residence in
Cleveland, Ohio. Cain, along with Defendant Kenneth Trascher, exercises complete
control over the operations of RECON, RIK, and RECON General Trading.

22. Defendant Kenneth Trascher is a founder and co-owner of RECON lntemational.
As described above, along with Defendant David Cain, Trascher exercises control over
the operations of RECON and RECON subsidiaries He currently resides in the UAE. and
is believed to have a United States residence in Madisonville, Louisiana.

23, Defendants will be referred to collectively in this Comp|aint as “RECON
International,” “RECON,” or “Defendants.”

III. JURISDICTION AND VENUE

24. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction

on this Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. Under 31

¢00045031; 91 - 9 -
1st AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 12 of 57 Page|D# 622

U.S.C. § 3730(e), there has been no statutorily relevant public disclosure of the
“allegations or transactions” in this Complaint.

25 . This Court has personal jurisdiction over the Defendants pursuant to 31 U.S.C. §
3732(a) because that section authorizes nationwide service of process and because
Defendants have minimum contacts with the United States.

26. Venue is proper in the Eastern District of Virginia pursuant to 31 U.S.C. §
3732(a) because the Defendants can be found in and transact or have transacted business
in this district. Additionally, although much of the conduct at issue in this case occurred
in Afghanistan, the Gravel Contract falls under the authority of the Deputy Assistant
Secretary of the Army for Policy and Procurement, located in the Pentagon in Arlington,
Virginia, and the LOGCAP IV contract was also administered in part from the Pentagon.

In addition, statutory violations, as alleged herein, occurred in this judicial district.
IV. CONTRACT AND REGULATORY BACKGROUND

27. Contingency contracting is a general term used to refer to Govemment contracts
that provide support to United States military and humanitarian operations not readily
available through organic logistics capabilities These ad hoc contracts are essential to
provide on-the-ground responsiveness to military needs in the course of international
operations, such as the current United States military operations in Afghanistan and Iraq.
28. The Joint Contracting Command-Iraq/Afghanistan (JCC-I/A) was created in 2005
to coordinate contingency contracting in Iraq and Afghanistan. JCC-I/A was
headquartered in Baghdad, Iraq. Since 2010, JCC-I/A responsibilities have been
transferred to the Joint Theater Support Contracting Command headquartered in Qatar.

100045031;9} _ 10 -
1st AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 13 of 57 Page|D# 623

29. JCC-I/A contracts fell under the authority of the Deputy Assistant Secretary of the
Army for Policy and Procurement, The Secretary’s office is located in the Pentagon in
Arlington, Virginia.

30. Responsibilities in the regions of Iraq and Afghanistan were administered through
separate Principal Assistants Responsible for Contracting (PARC). The PARC for
Afghanistan Operations oversaw the contracting procedures of Regional Contracting
Centers (RCC) in different locations throughout the country. Contracting officers in each
RCC were responsible for soliciting contracts in their individual regions to provide
on-the-ground support for the local military needs. These regional offices arranged for
essential contracts for materials and services not otherwise provided through existing
Govemment contracts, such as the task orders under the Logistics Civil Augmentation
Program (LOGCAP) IV.

31. T he RCC in Kandahar, Afghanistan administered contracts in the south western
region of the country, including Helmand Province where Camp Leathemeck is located.
An RCC office was later opened in Camp Leathemeck itself.

32. In 2008, the Govemment planned to expand operations in southern Afghanistan
and increase its troop deployment in the region. The United States military intended to
station several thousand additional soldiers in Helmand Province and surrounding areas.
To enable this deployment, the Govemment planned to construct and expand operating
bases in the region, including Camp Leathemeck (formerly known as FOB Tombstone).

This expansion generated the need for construction materials and contractors.

{00045031;9} _ 11 _
1St AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 14 of 57 Page|D# 624

33. RECON had an office at Camp Bastion, a British camp, in Helmand Province in
2008, lt had been working with the Intemational Secun`ty Assistance Force (ISAF) to
provide material support to British troops in the region. As a result of this work,
Defendants had existing contacts in the region and were ideally situated to respond to
solicitations for construction materials when the United States military sought to create
its own bases in Helmand Province in 2008.

A. The Gravel Contract and RCC Contracts

34. Kandahar Regional Contracting Center issued a request for bids in November
2008 for a contractor to provide gravel for the Regional Command (RC) South in
Afghanistan. It received only one bid, from RECON International. In January 2009, the
Kandahar Regional Contracting Center awarded RECON contract number W91B4L-09-
D-0029 (“the Gravel Contract”) to supply an indefinite quantity of gravel to the
Govemment for the continued expansion of Camp Leathemeck and additional Forward
Operating Bases (FOB) in the southern region of Afghanistan. A copy of the Gravel
Contract is attached hereto as Exhibit 1 and incorporated herein.

35. Under the terms of the contract, the Govemment would periodically place
Delivery Orders for gravel to be delivered to bases in the RC South region. RECON
lntemational was required to procure and deliver the requested type and quantity of
gravel to the delivery location.

36. The terms of the contract indicated the material would be provided for a “Firm
Fixed Price” based on negotiations for each delivery order. Because the Govemment
received only one bid, it was not able to institute competitive pricing for Delivery Orders,

{00045031;9} _ 12 -
1st AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 15 of 57 Page|D# 625

as intended in its original solicitation. Accordingly, the price was set by RECON
Intemational. In its first Delivery Order, the Govemment agreed to pay RECON $24.50-
$26.50 per cubic meter of gravel delivered to Camp Leathemeck (then still named FOB
Tombstone). A copy of this Delivery Order is attached hereto as Exhibit 2 and
incorporated herein. It paid comparable amounts in subsequent orders.

37. In accepting each delivery order, issued on Standard Form 1449, RECON had to
certify that it agreed to “furnish and deliver all items set forth or otherwise identified.”
See Exhibit 2. Through performance under the Gravel Contract, Defendants explicitly
promised (as described below) to deliver the quantity and types of materials requested.
38. The Gravel Contract was governed by the Federal Acquisition Regulations
(“FAR”), codified in Chapter 48 of the Code of Federal Regulations. It incorporated by
reference the Contract Terms and Conditions for Commercial Items. 48 C.F.R. §
52.212-4. This regulation provides that the Contractor “shall only tender for acceptance
those items that conform to the requirements of the contract.” Thus, by executing the
Gravel Contract, Defendants agreed that all items they delivered under the Contract
would conform with the types and quantities of materials requested in each Delivery
Order.

39. Defendants would tender gravel to the Govemment through its delivery to the
requested location, which usually was Camp Leathemeck. At regular intervals, RECON
officials would submit to the Govemment daily totals of the amount and type of gravel
delivered under the contract. These records were kept on daily forms. Every form had to

be signed by a United States military official, typically the Chief Storekeeper (SKC).

100045031;9} _ 13 _
lst AM. COM.'PLA]NT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 16 of 57 Page|D# 626

RECON management also approved the records. In this way, RECON could keep track
of and report to the Govemment progress under a Delivery Order.

40. Upon completion of a Delivery Order, Defendants would send a completed
invoice to Major Nathan N. Winn at the Regional Contracting Center at Camp
Leathemeck. Invoices were required to include a description of the items delivered (e.g.,
gravel), including the quantity, which had to correspond to the Delivery Order. A copy
of Delivery Order 008 with invoicing instructions is attached as Exhibit 3 and
incorporated herein.

41. 'I`hus, pursuant to the Gravel Contract provisions, each invoice submitted to the
Govemment certified that RECON had delivered the gravel described in the Delivery
Order. In addition, each daily Transport Form signed by Defendants certified to the
Govemment that the quantity and type of materials listed was accurate. Thus,
Defendants made numerous certifications that the quantity and quality of gravel listed
equaled the amount of gravel tendered at Camp Leathemeck and the other FOBs.

42. RECON also entered into numerous additional Govemment contracts issued by
the RCC. From 2009 through 2011, the Govemment awarded at least 59 contracts to
RIK, a corporate counterpart of RECON International. A copy of the Govemment
spending records listing many of these contracts is attached hereto as Exhibit 4 and
incorporated herein. Of the 59 contracts listed, 27 were for prefabricated and portable
building materials, worth $7,962,418. On information and belief, these public records are

not exhaustive.

100045031;9} _ 14 -
13' AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 17 of 57 Page|D# 627

B. LOGCAP IV Contracts

43. The Logistics Civil Augmentation Program, or “LOGCAP,” was established in
1985 to enable and coordinate civilian contractor logistical support for U.S. military
forces deployed overseas, principally in countries with which the U.S. does not have
treaties or agreements that would enable the host country to provide such services.
Initiated in 1985, the program has grown exponentially in the last ten years as the
Govemment has relied increasingly on private contractors to support United States
military missions in Afghanistan and elsewhere.

44. LOGCAP IV, the fourth LOGCAP contract since the inception of the program,
was awarded through a competitive process administered by the Army. In June 2007, the
Army Sustainment Command (ASC) selected three companies to serve as performance
contractors-DynCorp Intemational LLC, headquartered in Fort Worth, Texas; KBR, in
Houston, Texas; and Fluor Intercontinental, Inc. (“Fluor"), in Greenville, South Carolina
(Contract no. W52PlJ-07-D-0008).

45. The LOGCAP IV contract was awarded as an Indefinite Delivery/Indefinite
Quantity contract (lD/IQ) with one base year followed by nine option years.

46. The LOGCAP IV contract covers a range of services including supply operations
(food, water, fuel, spare parts); field operations (food, laundry, housing, sanitation, waste
management, postal services, and morale, welfare and recreation activities); and other
operations (engineering and construction; support to the communication networks;

transportation and cargo services; and facilities and repair).

10004503\;9: _ 15 _
1st AM. COMPLAINT

 

Case 1:11-CV-01209-TSE-|DD Document 8 Filed 11/09/12 Page 18 of 57 Page|D# 628

47. Because it is impossible to specify the military’s precise needs at the outset of
each LOGCAP prime contract, as military needs arise, the Govemment and prime
contractors execute Task Orders detailing particular operations or services that a
contractor must fumish.

48. Fluor Intercontinental, Inc. (“Fluor”) was awarded Task Orders 2 and 4 to support
the Military’s operations in Afghanistan in 2008, It was paid on a cost-plus basis,
whereby Fluor would be reimbursed by the Govemment for costs it incurred under the
contract and would receive a bonus fee based on its performance under the contract.

49. Fluor signed a Blanket Ordering Agreement (BOA) with RECON (Contract No.
FIIBOA-K9~0096) in 2008 in order to establish RECON as a subcontractor to assist Fluor
in its performance of the LOGCAP IV contract. A copy of the BOA and subsequent
revisions are attached hereto as Exhibit 5 and incorporated herein. Fluor engaged
RECON in significant operations from 2008 through 2010 to assist on the LOGCAP IV
Task Orders in Afghanistan.

50. Under the LOGCAP IV contract and through the BOA, subcontractors (including
RECON) agreed to comply with the Federal Acquisition Regulation (FAR), as well as the
Defense supplement to the FAR (DFAR). In addition, under its BOA with Fluor,
RECON was required to comply with a wider range of terrns, provisions, and
representations set out in Army regulations, Fluor documents, and other sources.

51. Per the BOA, Fluor would issue Task Order Releases (TOR) to RECON

describing the scope of work and method of payment for individual tasks. Each TOR

10004503|;91 _ 16 _
1st AM. coMPLAINr

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 19 of 57 Page|D# 629

was amended with numerous modifications through which Fluor and RECON would
clarify specific projects and operations required in the region as the need arose.

52. Fluor awarded RECON four Task Order Releases (TOR) from 2008 to 2009.
TOR 001, issued on September 27, 2008, involved the construction, operation and
maintenance of four Forward Operating Bases (FOBs) at four locations in Afghanistan.
A copy of TOR 001 is attached hereto as Exhibit 6 and incorporated herein. TOR 002,
issued on November 1, 2008, dealt with the operations and maintenance of the same four
FOBs in Afghanistan. A copy of TOR 002 is attached hereto as Exhibit 7 and
incorporated herein. 'l`OR 003, issued on December 19, 2008, required the construction of
eight FOBs in eight separate locations in Afghanistan. A copy of TOR 003 is attached
hereto as Exhibit 8 and incorporated herein. TOR 004, issued on January 30, 2009,
involved the provision of labor support services to those eight forward operating bases A
copy of TOR 004 is attached hereto as Exhibit 9 and incorporated herein.

53. TORs were multi-priced contractual vehicles, which could be any combination of
Time and Materials, Cost-Reimbursement, Labor-Hour, and Firm-Fixed Price payment
structures These contracts would be priced through the issuance of contract
modifications Modifications would describe a narrow scope of work and include the
price terms

54. In order to price a specific project, Fluor would issue a Request for Proposal or
Scope of Work under a particular Task Order Release. These requests would include a
pricing schedule where RECON could list its price breakdown for a project. In order to

ensure a fair and reasonable price, in accordance with its obligations to the Govemment,

100045031;9; _ 17 _
1st AM. COMPLAINT

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 20 of 57 Page|D# 630

Fluor would request, from time to time, the submission of “complete and detailed price
proposals.” These were required to describe the plan for completion of the`contract.

55. RECON, through the BOA, was aware of Fluor’s obligations to the Govemment
to provide pricing data and submit fair and reasonable costs. In addition, RECON
explicitly agreed to “support Company [Fluor] as required to meet Client’s [Govemment]
requirements including but not limited to: audit support, cost verification, and cost
breakdowns.” See Exhibit 5, Part II, 2.5.

56. According to the BOA, RECON was responsible for maintaining adequate
documentation to verify costs and units In addition, RECON agreed to maintain records
for two years relating to all contracts paid on a reimbursable basis or unit price and allow
Fluor to audit, copy, and inspect those records, See Exhibit 5, Part III, Versions 1 and 2,
24.0, 40.3.

57. Under the terms of the TORs, a price could be set or “definitized” after the
contract had been issued. Fluor could issue “Not to Exceed” contracts and/or “Letters of
Technical Direction,” whereby Fluor would request RECON begin working on a specific
project prior to establishing a firm price. At a later date, RECON and Fluor would
negotiate terms to finalize the price, Generally, RECON was required to present
supporting materials such as receipts, time sheets and other records, to support the costs
expended and negotiate a final figure. Both TOR 001 and TOR 003 established base
funding on a “Not to Exceed” basis, with the understanding the price would be

definitized at a later date. See Exhibits 6 and 8.

100045031;9} - 18 -
lst AM. COl\/lPLAINT

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 21 of 57 Page|D# 631

58. Some of the final modifications under Task Order Releases 001 and 003 were
Fixed Price contracts, where Fluor and RECON negotiated a fixed rate to perform a
distinct amount of work. Under Task Order Releases 002 and 004, the contract generally
used Labor-I-lour pricing. However, the contracts also included Time-and-Material and
Cost Reimbursements contracts, where Fluor, with Govemment funds, would reimburse
RECON for labor and/or costs.

59. Under the BOA, RECON was required to “maintain time and labor distribution
records for all employees who work under the Contract by Task Order Release. These
records must document the time worked and work performed by each individual for each
Task Order Release. Copies of time cards to be submitted with invoice.” Exhibit 5, Part
II, 1.5. Each Task Order Release and subsequent modification had specific requirements
for the maintenance of accurate time sheets or records

60. Task Order Releases 002 and 004 both involved the provision of operations and
management staff to support the efforts of Forward Operating Bases in Afghanistan.
Under these contracts, RECON was paid an “all inclusive labor rate” negotiated between
Fluor and RECON. Under this fixed unit rate, each labor hour would have a dollar
amount affixed to it based on the type of work provided. A copy of the TOR 002
Proposa| Cover Letter and Pricing Sheet is attached hereto as Exhibit 10 and incorporated
herein.

61. Invoicing and payment for Labor-Hour Task Order Releases were governed by
FAR 52.232-7 “Payments under Time-and-Materials and Labor-Hour Contracts.” _

Exhibit 5, Part II, 7.1; 48 C.F.R. § 52.232-7. Specifically, FAR 52.232-7 provides that

100045031;9; _ 19 _
151 AM. coMPLAINT

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 22 of 57 Page|D# 632

the amount to be paid “shall be computed by multiplying the appropriate hourly rates
prescribed in the Schedule by the number of direct labor hours performed.” As such,
proper payment was contingent on accurate reporting of time worked.

62. Under the BOA, “Contractor [RECON] was only to be reimbursed for the hours
for which their employees [were] paid.” See Exhibit 5, Part II, 2.9.

63. Because payment for Labor-Hour contracts was contingent on the hours worked
and paid, RECON was required to keep time sheets that tracked the workers’ names,
classification, and labor hours Time sheets were required to document the time worked
and work performed by each individual for each Task Order Release. Exhibit 5, Part II,
1.5. Time was subject to audit to ensure that Fluor was billed properly for “actual hours
worked and paid to its [RECON’s] employees.” Exhibit 5, Part H, 1.3.

64. Under the BOA, invoices were required to include a Progress Payment Release,
which certified that the Contractor had paid in full for all labor or materials fumished, all
equipment used, and all sub-contracts employed. The contractor was also required to
indicate the number of hours worked (for Labor-Hour contracts), and provide copies of
timesheets signed by the workers to certify the accuracy of that time. Govemment
payment for labor hours was conditioned on the submission of timesheets and proper
recording of time. With each invoice, RECON was required to certify that the work
covered by the invoice was complete and that the invoice was correct and authentic.
Exhibit 5, Part II, 7.1, 7.11.

65. Upon receipt of the invoice, Fluor would review the invoice and process it for

payment. If there was sufficient supporting documentation, Fluor would pay RECON for

{00045031;9} - 20 -
lst AM. COMPLAINT

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 23 of 57 Page|D# 633

the work, according to the invoice, Fluor would then seek repayment for the amounts
expended under the RECON subcontract according to the terms of its cost-reimbursement
prime contract with the Govemment.
66. Under TOR 001 and 003, RECON also was required to keep time sheets to
support the costs for certain projects including undefinitized items Time sheets or head
counts, tracking time worked on particular projects were essential for audits of
manpower used on these Task Orders to ensure Fluor and the Govemment received full
performance. As described supra ‘I[ 56, RECON was required to keep these records for all
contracts paid on a reimbursable or unit basis
C. RECON was Required to Comply with the Anti-Kickback Act

67. The Anti-Kickback Act of 1986 prohibits accepting or furnishing kickbacks for
the purposes of influencing government contracting 41 U.S.C. §§ 8701-8707. Congress
enacted the Anti-Kickback Act of 1986 to broaden coverage in the Anti-Kickback Act in
order to deter kickbacks relating to subcontracts under Federal Govemment Contracts.
Specifically, Congress was concerned with kickbacks used in the defense industry.
68. The Act provides:

It is prohibited for any person ~

(l) to provide, attempt to provide, or offer to provide any kickback;

(2) to solicit, accept, or attempt to accept any kickback; or

(3) to include, directly or indirectly, the amount of any

kickback prohibited by clause (1) or (2) in the contract price

charged by a subcontractor to a prime contractor or a higher tier

subcontractor or in the contract price charged by a prime

contractor to the United States.

69. FAR 52.203-7 incorporates the prohibitions of the Anti-Kickback Act into

government contracts 48 C.F.R. § 52.203-7. FAR 52.203-7 must be included in all
100045031;9} _ 21 _

1St AM. CoMPLArNT

 

Case 1:11-CV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 24 of 57 Page|D# 634

government contracts, other than those for commercial items, that exceed $100,000.
Therefore, any contracts RECON held directly with the Govemment, other than for
commercial items, was required to include that term. Additionally, Part IV of the BOA
included by reference FAR 52.203-7, applicable to all subcontracts exceeding $100, 000.

D. Safety and Security Regulations in Afghanistan

70. As a government contractor, RECON was required to adhere to various security
directives designed to maintain a safe environment for the United States Military
(“Military”) and the numerous American and foreign nationals employed in Afghanistan.
Given the highly dangerous nature of work on the front lines of battle, adherence to
security regulations is of critical importance to the military operations in Afghanistan.
71. According to the terms of its contract with Fluor, RECON was required to
“comply strictly with all loca|, municipal, state, federal and governmental laws, orders,
codes and regulations applicable to Contractor’s operations in the performance of the
Work” under its contract. Exhibit 5, Part III, 22.1. As such, all activities known to be
illegal or contrary to military regulations were clearly prohibited under the terms of the
Fluor subcontract.

72. All contractors and subcontractors had to follow security directives issued by the
Military. Part IV of the Blanket Operating Agreement incorporated the full text of
DFARS 252.225-7043, “Antiterrorism/Force Protection For Defense Contractors Outside
the United States,” which requires that the contractor “obtain and comply with the most
current antiterrorism/force protection guidance for the Contractor and subcontractor
personnel.” See Exhibit 5, Part IV.

{0004503|;9} _ 22 _
ls‘ AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 25 of 57 Page|D# 635

73. Contracts between RECON and the Military, including but not limited to the
Gravel Contract, also required strict compliance with the law and security regulations
“The Contractor shall comply with all applicable Federal, State and local laws, executive
orders rules and regulations applicable to its performance under this contract.” 48 C.F.R.
§ 52.212-4. If the Military prohibited business operation with certain types of vendors
or restricted the presence of persons or technology on military camps, RECON was
required to comply with these directives
74. Various United States laws and Executive Orders prohibit business with Iran. 31
C.F.R. § 560.206; Exec. Order No. 12,957, 60 Fed. Reg. 14,615 (March 17, 1995).
75. Section IV of the BOA between RECON and Fluor was amended in July 2009 to
include Section 52.225-13, “Restrictions on Certain Foreign Purchases.” According to
FAR 52.225-13, contracts issued by the Govemment must include the following
provision:
(a) Except as authorized by the Office of Foreign Assets Control [OFAC].
. . in the Department of the Treasury, the Contractor shall not acquire, for
use in the performance of this contract, any supplies or services if any
proclamation, Executive order, or statute administered by OFAC, or if
OFAC’s implementing regulations . . . would prohibit such a transaction

by a person subject to thejurisdiction of the United States

(b) Except as authorized by OFAC, most transactions involving... Iran
...are prohibited.

Exhibit 5, Part IV, Rev. 04; 48 C.F.R. § 52.225-13.
76.7 According to OFAC, United States persons are prohibited from engaging in any

transactions including purchase, sale, transportation, swap, financing, or brokering

100045031; 91 _ 23 _
lSt AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 26 of 57 Page|D# 636

transactions related to goods or services of Iranian origin or goods or services owned or
controlled by the Govemment of Iran. 31 CRF § 560.206.

77. As a Govemment contractor, RECON was forbidden from acquiring products it
knew to have Iranian origins This coincided with essential national security and anti-
terrorism objectives in the region, such as preventing Iran’s nuclear development and
proliferation.

E. Prohibitions on Retaliation for Protected Activity

78. Under the federal False Claims Act’s anti-retaliation provision, 31 U.S.C. §
3730(h), any employee, contractor, or agent is entitled to all relief necessary to make that
employee, contractor, or agent whole, if that employee, contractor, or agent is discharged,
demoted, suspended, threatened, harassed, or in any other manner discriminated against
in the terms and conditions of employment because of lawful acts done by the employee,
contractor, or agent on behalf of the employee, contractor, or agent or associated others in
furtherance of other efforts to stop one or more violations of the False Claims Act. An
employee, contractor or agent retaliated against in violation of this section is entitled to
reinstatement, double the amount of lost back pay, interest on the back pay, and special

damages including attorney fees and litigation costs Id.

V. DEFENDANTS DEFRAUDED THE GOVERNMENT BY FALSELY
CLAIMING PAYMENT FOR THOUSANDS OF CUBIC METERS OF
GRAVEL THAT WERE NEVER DELl[V ERED AND BY
MISREPRESENT[NG THE TYPE OF GRAVEL PROVIDED

 

 

 

 

 

79. RECON began performance under the Gravel Contract in January 2009. RECON
collaborated with local Afghan vendor Zobair Quadrat Construction Company (“ZQCC”)

in order to obtain gravel. Through connections with local Afghan businessmen, ZQCC

{00045031; 9} _ 24 _
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 27 of 57 Page|D# 637

was able to find a supplier, the Salam Khan Navin Construction Company (“SNCC”),
willing to mine and deliver the gravel (also known as “river rock” because the primary
source of the gravel came from a nearby river bed) to the camp, at least initially, for a
total of $8.40 per cubic meter. See Exhibit 11, ZQCC Contract with SNCC, attached
hereto and incorporated herein. RECON coordinated the delivery of the gravel from its
subcontractors to the locations specified by the Govemment.

80. SNCC hired local Afghans, who provided their own trucks in order to transport
the gravel. Each truck was assigned a number that it maintained throughout the course of
the contract period. This number, which was posted on a paper affixed to the windshield
of the trucks facilitated recordkeeping and ensured greater security around the base.

81. The terms of the Gravel Contract provided for specific quantities of material to be
delivered to the United States military bases including Camp Leathemeck. RECON
recorded the amount of gravel delivered under the contract, and the supplies were
inspected by the Govemment at the destination. See Exhibit 1 at 4. Due to technological
and operational limitations in the warzone, truck scales and other exact measurement
devices were not available. In order to manage this limitation, Defendants developed a
method to quantify the amount of gravel that was being delivered.

82. In order to measure the gravel, prior to allowing the truck operator to make
deliveries an employee of RECON and its subcontractor (ZQCC and/or SNCC) would
measure the volume of the truck bed in cubic meters RECON would then record the
truck number along with its corresponding volume. ZQCC and/or SNCC, the Afghan

subcontractors also recorded each truck’s volume to ensure it received proper payment.

100045031;9} _ 25 _
lSl AM. COMPLA[NT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 28 of 57 Page|D# 638

83. After RECON and the Afghan subcontractors had recorded the volume of the
truck bed, the truck would depart to the quarry. At the quarry, it would receive a load of
gravel. 'I`he truck would then return to the delivery location (the particular United States
military base, including Camp Leathemeck) and deposit its load of gravel. Typically,
individual trucks would make multiple trips each day.

84. In order to track the total volume that had been delivered to the various United
States military bases each day, RECON kept daily “Tombstone River Material Transport
Forms" (“Transport Forms”). (“’I`ombstone” refers to FOB Tombstone, the original name
of Camp Leathemeck.) The Transport Forms had columns for the truck number, type of
material, volume of the truck bed, trips taken per day, and total daily volume from the
truck. A copy of the Transport Forms is attached as Exhibit 12, and incorporated herein.
A RECON employee and an Afghan subcontractor (typically ZQCC) would observe the
trucks as they entered the base to make their delivery and keep a daily tally of the number
of trips each truck made. That number was multiplied by the volume of the particular
truck bed in order to obtain a daily volumetric total for that truck, recorded in the last
column. 'I`he daily total from each truck was added together to obtain a total for all the
day’s deliveries which was recorded at the bottom of the form.

85. For purposes of the Gravel Contract, RECON had to report the volume it received
and delivered to two parties - (1) the Afghan subcontractors (in order to pay them) and
(2) the Govemment (in order to get paid for the delivery). RECON had to pay the

subcontractors based on the quantity of gravel the subcontractors provided.

10004503\;9: _ 26 _
1st AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 29 of 57 Page|D# 639

86. At or around December 2008, RECON’s Country Manager in Afghanistan,
Joseph (“Joey”) Tagliabue, called RECON’s Head of Operations at Camp Bastion, his
brother David Tagliabue, and directed him to begin adding cubic meters to the volume of
the truck beds at Camp Leathemeck on the Transport Forms that RECON sent to the
Govemment for payment. Immediately after hanging up the phone with Joey Tagliabue,
David relayed these instructions to RECON Operations Coordinator, Matt Aitchison, who
was in charge of overseeing the Gravel Contract. Relator was present during the
conversation between David Tagliabue and Matt Aitchison when David Tagliabue told
Aitchison to start adding one meter to the volume of each truck bed for each delivery,
which took place in the administrative offices at Camp Bastion, and Re|ator also
overheard the telephone conversation between David Tagliabue and Joey Tagliabue
directly preceding it.

87. Shortly thereafter, RECON began to keep two sets of records for all gravel
delivered to Camp Leathemeck - one to track the inflated volume of gravel reported to
the Govemment (“Government Records”) in order to get paid, and one that tracked the
actual volume that corresponded with the Afghan totals (“Afghan Records”) in order to
pay the Afghan subcontractors In the Govemment Records RECON increased the
recorded volume of nearly every truck by one or more cubic meters The volume of each
truck, once recorded, was kept constant. The increase was thus the same every day the
truck continued making deliveries This increased volume would be multiplied by the

number of trips made by a truck each day, further exacerbating the fraud. RECON

100045031;9: - 27 _
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 30 of 57 Page|D# 640

incorporated these falsely inflated numbers in every Daily Transport Form, which was
later submitted to the Govemment in support of Defendants’ request for payment.

88. Each day, the fraudulent Transport Form would be approved by the Operations
Coordinator or his agent at RECON and accepted by the Military’s Chief Storekeeper.
RECON knew that the numbers had been inflated and did not reflect the actual quantity
of material delivered, but concealed this information from the Govemment. The
Govemment believed it was receiving gravel in quantities considerably higher than it
actually received. It had no way of knowing the volume was actually much lower,
because it had no access to the Afghan Records and no contact with the Afghan
subcontractors who supplied the gravel to RECON,

89. Upon stated completion of a Delivery Order based on its inflated numbers
RECON would submit an invoice to the Govemment’s Regional Contracting Center for
payment. RECON certified its completion of the Delivery Order through submission of
the invoice, when in fact it had not delivered the quantity of goods it asserted but instead
had delivered considerably less than the stated amount.

90. From January through June 2009 the number of trucks in operation delivering
gravel to Camp Leathemeck increased from a handful to over two hundred. RECON
falsely inflated the volume of the truck bed of nearly every truck delivering gravel to
Camp Leathemeck. For example, on June 12, 2009, out of 220 trucks delivering gravel
that day, all but 10 had falsely inflated volumes Typically, the amount of the increase
was one cubic meter; however, the amount of the inflation ranged from 0.5 to 4 cubic

meters For instance, Truck 268 had a volume of 17 cubic meters as reported in the

100045031;9} - 23 -
rs‘ AM. CoMPLArNT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 31 of 57 Page|D# 641

Afghan Records However, in the Govemment Records the volume of the truck bed was
reported as 20 cubic meters Between February and June 2009, the typical inflation in the
net volume of the truck beds was ten to fifteen percent.

91. At or around June 2009, RECON employees Zlatan Mijatovic and Zoran Pejovic
approached Relator to inform him of the ongoing fraud involving RECON’s inflation of
the volume of the truck beds carrying gravel to Camp Leathemeck and other FOBs on the
Daily Transport Forms and other records submitted to the Govemment to support
payment. Mijatovic and Pejovic, both Bosnian nationals were hired by RECON to work
on the construction of Camp Leathemeck and other U.S. FOBs in southern Afghanistan.
Another RECON employee, Dragan Dragonjic, had trained Mijatovic and Pejovic in the
fraudulent recordkeeping practice of inflating the volume of the truck beds on the Daily
Transport forms and other Govemment Records as he had been instructed to do by Matt
Aitchison. Matt Aitchison had by then left the company.

92. Mijatovic and Pejovic informed Relator of the specific manner in which
Defendants were defrauding the Govemment. In addition, they provided Relator with
digital copies of the two sets of records: the Afghan Records and the Govemment
Records from the period of March through June of 2009. While not comprehensive, the
records include most of the details of deliveries and volumes as reported to the Afghan
subcontractors and the Govemment from this time period. The documents also include
copies of Transport Forms with inflated numbers signed by RECON management and
Govemment representatives Copies of excerpts of the Afghan Records and Govemment

Records are attached hereto as Exhibits 13 and 14 and are incorporated herein.

100045031;91 _ 29 -
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 32 of 57 Page|D# 642

93. Relator informed RECON’s owner David Cain of his knowledge of the gravel
fraud in or around June 2009. Subsequently, Cain dismissed both Messrs. Tagliabue, in
addition to reassigning the Bosnian workers who had been in charge of overseeing the
records Mijatovic and Pejovic. Because RECON was paid directly by the Govemment
for the quantity of gravel provided, none of the individuals terminated would have
benefitted from the alteration in the records With regard to the Gravel Contract, only
RECON, which received the payment from the RCC, received any benefit.

94. Shortly after firing these workers Cain arranged for two existing RECON
employees-James Haffey and Mike Bradley_to be relocated and assigned to Camp
Leathemeck. Shortly after starting his RECON work at Camp Leathemeck, Relator
observed Mike Bradley destroying documents from the office of the former Operations
Coordinator, Matt Aitchison. Relator believes these records corresponded to the inflated
gravel deliveries

95. When Relator informed Cain of the gravel fraud in or around June 2009, Cain
assured Relator the Govemment would be informed of “an error in record-keeping."
However, Cain never informed the Govemment of the fraudulent activities nor did
RECON ever issue a rebate of funds or correct the overstated amount of the gravel
through the delivery of additional materials RECON’s owners David Cain and Kenneth
Trascher continued to conceal from the Govemment RECON’s fraudulent scheme of
overstating the amount of gravel delivered to Camp Leathemeck in order to increase the

amount that RECON was paid,

:0004503|;9} _ 30 _
lSl AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 33 of 57 Page|D# 643

96. Although Cain at one point claimed RECON had conducted an internal audit of
the amount of gravel delivered, Relator does not believe this audit was ever completed.
97. In addition to misrepresenting the amount of gravel it was providing the
Govemment, RECON also knowingly misrepresented the type of gravel it was supplying
the Govemment under the Gravel Contract and provided gravel that did not meet the
Govemment’s specifications
98. Because the Govemment had several different projects at the Military bases that
required varying sizes and grading of gravel, the Govemment’s Delivery Orders called
for gravel in varying sizes For example, Delivery Order 001 called for “1 1/2” gravel:
Open-Graded - a random mixture of material sized not very well segmented” and “Road
Base_l” minus gravel, not to have round edges: Well-Graded_almost all the rock is
within the same size.” Delivery Order 5 called for gravel of l” minus 2” minus and 3"
minus However, in May 2009, David Tagliabue, RECON’s project manager of the
Gravel Contract, informed the Relator that there was no difference in the type of gravel
RECON delivered under the contract.
99. On May 22, 2009, project manager David Tagliabue received the following
inquiry from the Govemment’s Assistant Supply Officer, Stephen Mannila, about non-
conforming deliveries under the Gravel Contract:

Are the delivery notes correct on the mm delivered? Are you using l %”

minus for the l '/z” minus‘? Even if you were, you would have delivered

42572 M"3 that wasn’t a part of the contract. According to my
calculations this is where you stand:

3” Minus:3780 M"3 remaining

2” Minus: 59413 M"3remaining

l” Minus: 7950 M"3 remaining

100045031;91 _ 31 _
ls' AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 34 of 57 Page|D# 644

And that is assuming you used 0-30mm for l '/z” minus Please let me
know of any corrections on the size of gravel delivered for each day of the
delivery notes l don’t know if Dragan was paying attention when he
wrote the correct sizes down for each day delivered. Thanks for your
help.

Exhibit 15, attached hereto and incorporated herein.

100. While formulating RECON’s response to the Assistant Supply Officer’s inquiry,
David Tagliabue candidly admitted to Relator that RECON made no effort to supply the
Govemment with the sizes of gravel it specified but instead simply altered and falsified
the data on the materials sheets/delivery notes it provided the Govemment to make it look
like the proper size and type of gravel was delivered and thereby caused the Govemment
to pay for non-conforming material. Specifically, in his email to Relator describing the
situation, David Tagliabue wrote:

Take a look below, I think Dragan is on holiday. I usually give him
a copy of the rock contracts so that he can fill out the amounts according
to the contract.

We need to send this guy the correct sheet with the amounts
adjusted all we deliver is 0-30 but they don’t know that so we just alter the
material sheet to match their orders we are the ones using the stone so no
one knows the difference. For example we were supposed to deliver 3 inch
material so who ever is filling for Dragan at the moment should say we
delivered x amount of 3 inch this last week and so on even though it is all
0-30. You get me?

Exhibit 15.

101. From January 23 through June 8, 2009, the Govemment placed ten Delivery
Orders for gravel and issued payments totaling $10,934,155 for the gravel. Most of the
deliveries were for Camp Leathemeck, and therefore were impacted by the fraudulent

recordkeeping that Relator was informed about and has described above, The final

Delivery Order, paid on July l7, 2009, totaled $493,860. In all, the Govemment placed
100045031~.9: _ 32 -

ls‘ AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 35 of 57 Page|D# 645

eleven Delivery Orders under Contract Number W91B4L-09-D-0029 that totaled

$l 1,428,015. The first ten orders were all placed during the time period covered by the
Records obtained by the Relator. Based on the records obtained by the Relator, the
Govemment paid at least half a million dollars for falsely inflated quantities of gravel that
were never in fact delivered to Camp Leathemeck. Each Transport Form submitted and
signed by the Defendants was false in that it certified a quantity of gravel that had not
actually been delivered. The Defendants used these Transport Forms to track the quantity
of gravel it delivered under each Delivery Order. RECON used these Transport Forms to
support its invoices to the Govemment seeking payment for the gravel and submitted the
Transport Forms to the Govemment in conjunction with its invoices Therefore, each
Transport Form amounted to a fraudulent record material to a false claim. Each invoice
the Defendants submitted for payment certified completion of Delivery Orders based on
falsely inflated total quantities of gravel. In addition, each invoice falsely represented the
type of gravel delivered to the Govemment. The Govemment would not have paid for
material that consistently did not meet the specifications of the contract. Therefore, each

invoice amounted to a false or fraudulent claim for payment.

VI. DEFENDANTS KNOWINGLY PURCHASED GOODS ORIGINATING IN
IRAN FOR USE ON GOVERNMENT CONTRACTS AND CONCEALED
THAT INFORMATION FROM THE GOVERNMENT

 

102. From December 2009 until 2010, RECON and RIK, a corporate affiliate of
RECON, entered into a number of contracts with the RCC for the construction of pre-

engineered buildings at Camp Leathemeck in Afghanistan.

¢00045031;9: - 33 -
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 36 of 57 Page|D# 646

103. One of its vendors Danyal Rahim, who operated Danyal Rahim Trading Co.,
based his operations in the Herat Provence of Afghanistan, on the border with Iran. In
order to procure low-priced materials Rahim had connections with materials distributors
in Iran. Therefore, much of the material procured by Rahim had lranian origins

104. Based on knowledge and belief, much of the steel material RECON used to make
pre-engineered buildings at Camp Leathemeck came from Iran. When the materials
arrived at RECON’s Camp Leathemeck/Bastion in Afghanistan it was labeled with its
Iranian origins

105. RECON used these Iranian building materials to construct many of the pre-
engineered buildings at Camp Leathemeck in 2009 through 2010. Of the over 200
buildings constructed, the former General Manager of RECON, Bruce Kallage, estimated
that at least 60% of the structures were constructed using materials from Iran. See
Exhibit 16.

106. At one point in early or mid-2010, officers from the Govemment’s Regional
Contracting Center (RCC) discovered the presence of raw materials typically used in the
construction of pre-engineered buildings, at RECON’s camp, labeled with their Iranian
origins Govemment Contracting Officers demanded RECON dismantle any buildings
which contained the offending materials and refrain from using any material procured
from Iran. RECON’s owners Cain and Trascher apologized to the Military, and assured
them RECON had not used Iranian materials in the construction of prefabricated
buildings at Camp Leathemeck. They further assured the Govemment that the presence

of Iranian materials had merely been a mistake, and the purchases would not reoccur.

100045031;9: _ 34 _
1st AM. CoMPLArNT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 37 of 57 Page|D# 647

107. However, RECON did not refrain from purchasing new material from Iran or take
down the buildings that had been constructed using Iranian materials Instead, RECON
began intentionally deceiving the RCC by first delivering its materials to its parallel camp
located at Camp Bastion to remove or paint over Iranian labels and subsequently
transferring the materials to the delivery location at Camp Leathemeck.

108. In another incident, at or around August 2010, RECON was subjected to a routine
nighttime raid by the Military Police. During this search, the MPs sought access to
RECON’s storage containers RECON was able to convince the officers not to search
their containers until the next day. At that time, Deputy Country Manager Austin Birch
was instructed to remove any remaining Iranian labels on materials that were stored in its
containers The morning following the raid, upon leaving her sleeping container,
Contract Administrative Specialist (“Contract Specialist”) Melina Secerbegovic saw
Birch speaking with Director of Logistics Russell Lee. In response to an invitation to go
to the gym, Birch responded that he was too “wom out.” In addition, his body was
covered with a fine yellowish dust. Secerbegovic later overheard some colleagues
discussing the fact that Birch had “a night shift.” Taken together, these circumstances
(the comments about removing labels and night shifts and the dust) led Secerbegovic to
conclude that Birch had spent the night painting over and scratching off any indications
that the materials in storage had come from Iran.

109. Later, Secerbegovic overheard a conversation between Country Manager Crai g
Carmichael and a RECON engineer from Pakistan. Carmichael was relating a

conversation between himself and owner David Cain, In the conversation, Cain told

100045031-.91 _ 35 -
lSt AM. COMPLAIN'I`

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 38 of 57 Page|D# 648

Car'michael about the existence of Iranian materials Carmichael relayed his response to
the engineer, saying “are you [expletive] serious we have Iranian stuff in our storage?”
110. Despite the warning from the Military, RECON continued to enter into
contractual relationships with Danyal Rahim to purchase materials it knew originated in
Iran. It was aware, and had been told explicitly by the Govemment contracting center,
that such purchases were forbidden and would not be accepted under the contract.
Nonetheless in order to keep costs low, RECON continued to purchase goods it knew or
had strong reason to believe came from Iran.

lll. RECON submitted invoices for payments for materials it had purchased knowing
the materials originated in Iran, and knowing that the government would not pay for the
materials if it knew of their Iranian origins Every claim for payment made to Fluor or
the Govemment involving materials originating in Iran constituted a false claim for

payment.

VII. DEFENDANTS VIOIiArTED SECURITY REGULATIONS BY
CONTRACTING W[T ii VENDORS ON THE TERRORIST WATCH LIST
BANNED FROM MllLlTARY BASES AND PROHIBITED FROM
GOVERNMENT CONTRACT [N§

 

 

 

 

 

 

112. Under numerous contracts with both Fluor and the Govemment, RECON was
required to purchase significant quantities of materials and equipment. To procure these
materials RECON had arrangements with various vendors and subcontractors in the
region. As discussed above, one of their subcontractors was Danyal Rahim. Rahim also
was referred to on the Camp as Romeo.

113. RECON regularly employed Rahim until late 2008. Near that time, RECON

entered into a contract with the NATO organization in charge of Afghanistan operations,

100045031; 91 - 36 -
1st AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 39 of 57 Page|D# 649

the Intemational Security Assistance Force (ISAF), to construct a runway at an air base in
the Herat region of Afghanistan. As part of their contract, RECON was required to
provide engineering services and materials including asphalt. RECON procured the
asphalt from Rahim. However, Rahim provided asphalt that did not meet the quality
specifications of the contract. RECON engineers present on the site completing the
construction had the opportunity to inspect the asphalt, however they did not reject the
goods

114. During a routine inspection of the site, ISAF became aware that the asphalt being
used was non-confomring. ISAF demanded that RECON redo all construction that had
used the substandard material.

115. RECON, as a result of the rejection of services refused to pay Rahim for the
asphalt that he provided. Rahim was barred from RECON’s offices at Camp Bastion, and
RECON staff was instructed to exclude him from further contracts

116. Rahim believed he was owed money for the contract, and was upset at RECON’s
non-payment and exclusion from future contracting opportunities

117. Relator was charged with locating other possible vendors in the region to replace
Rahim, He began communicating with Mirwais Ahmed, with whom he had a
relationship from a previous stay in Afghanistan.

118. Around early 2009, Ahmed and Rahim encountered one another in a general store
at Camp Bastion. Relator was also present, but did not hear or understand the contents of

their conversation. Rahim was aware Ahmed was considering contracting with

100045031;91 _ 37 _
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 40 of 57 Page|D# 650

Defendants Rahim and Ahmed engaged in a brief conversation, the contents of which
Ahmed later relayed to the Relator.

119. According to Ahmed, Rahim had informed him that RECON was not to be trusted
and had wrongfully withheld payment of a significant amount of money. In addition,
Rahim stated that due to this non-payment he intended violence against RECON’s owner,
David Cain, and its Country Manager, Joey Tagliabue. Specifically, Rahim threatened
that upon RECON management’s upcoming visit to Herat, he was planning on greeting
the men with a group of armed guards in order to kidnap and ransom them for payment
for his previous work,

120. Relator immediately informed David Tagliabue, the project manager and Joey
Tagliabue’s brother, of this threat, so he could relay the message to David Cain and Joey
Tagliabue. The trip was subsequently cancelled, and Rahim identified as a security risk
for the company.

121. For a period of time, Defendants refrained from using Rahim’s services Instead,
at least for their operations at Leathemeck/Bastion, RECON relied on vendor Mirwais
Ahmed and his company ZQCC to procure much of their needed materials

122. However, in September or October of 2009, a dispute arose with Ahmed over
payment. RECON’s owners determined they no longer wanted to remain in business
with Ahmed, and became intent on locating another Afghan vendor.

123. At or around November 2009, RECON’s owners reinitiated contact with Danyal
Rahim. Rahim once again became a primary vendor for RECON’s operations at Camp

Bastion/Leathemeck.

100045031;91 - 38 _
lsl AM. COMPI..AINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 41 of 57 Page|D# 651

124. In November to December 2009, Rahim set up an office on RECON’s compound
at Camp Bastion. He spent considerable amounts of time in these offices and had a close
working relationship with RECON’s owners and then Country Manager Dominic
Johnson. Rahim’s local Afghan employees were also permitted to remain at the Camp.
125. At one point in December 2009, Relator discovered Rahim had satellite dishes
and computers in his room. The presence of this technology was a violation of camp
security directives which all contractors at the Camp were specifically required to obey.
Relator confronted Rahim about owning these forbidden materials Rahim replied that
Johnson had given him permission to possess the materials in question per “.Mr Dom’s
orders.”

126. In late December 2009, Rahim was discovered with a camera-enabled cell phone
when he attempted to reenter the camp. Consistent with the policy of the British military
at Camp Bastion, the phone was confiscated by British intelligence officers and taken for
further analysis

127. Forensic analysis of the phone revealed a number of disturbing videos that had
been viewed by Rahim. One was a copy of a video taken from a Taliban member’s cell
phone of an ambush on Highway A lA, a road in Afghanistan, including close-up images
of the murder of drivers

128. Other videos on the phone included public executions (beheadings) perpetrated by
members of the Taliban taken with cell phone video cameras Rahim also had copies of

other disturbing videos including a public hanging of a woman and two men.

100045031;91 - 39 -
lSl AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 42 of 57 Page|D# 652

129. Most disturbing from the Military perspective was a video showing a Vehicle
Bom Improvised Explosive Device (IED) being assembled in the back of a Toyota Land
Cruiser by Taliban forces The video went on to show members of the Taliban talking to
a young boy, apparently around 17 years-old. These men were shown hugging the young
man and sending him off in the SUV equipped with the [ED. As the Taliban continues to
film, the young man proceeds to drive up to a Military Convoy and detonate the bomb,
killing himself.

130. Although Relator was located in Dubai at the time the British Military
apprehended Rahim’s phone, Relator’s subordinate, George Watton, was present at Camp
Bastion and reported on the situation via email.

131. Upon first becoming aware of this situation from Watton, Relator emailed the
owners of the company about the incident and its potential consequences

Dave and Ken.

I was told two days ago about a security violation committed by Rahim
but was not given any information as to what it was exactly until tonight.
Rahim came through the main gate with a cell phone with a camera inside.
The FP confiscated it. 'l`he Counter lntel Det. went through the phone
forensically

They are having Rahim come to an interrogation tomorrow at their area.
George will be present for the interrogation to obtain all information. The
information given to me tonight says that Rahim will more than likely be
barred from Bastion and all ISAF military installations due to the nature of
the information discovered on his phone. There are other LNs who work
for RECON who will probably be barred from Bastion and all ISAF
installations directly related to this incident as well. l will advise you
tomorrow the update as soon as Rahim is interviewed

lf` he is barred physically and barred from doing business on the
installations could cause us a ‘disruption in continuity of business’ I will
let you know as soon as I receive a report”

A copy of the email chain is attached hereto as Exhibit 17 and incorporated herein.

100045031; 91 _ 40 -
lSt AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 43 of 57 Page|D# 653

132. RECON owner Kenneth Trascher responded
Hi Tim,
Rahim is central to our operation and way forward. We must petition for
waming/exception. He is a businessman educated in the US and not the
typical Afghan.
Get you senior guy on it and do not neglect.
133. A'fter determining the details of the videos that were found on the phone. Relator
informed the owners of their contents in detail. In addition, Relator noted:
These Videos regardless of their origin have the UK Military Counter
Intel/Sys Det pretty upset. I was told that my relationship with the military
is a non-issue in their decision making process in this matter. The
Interview with Rahim will be conducted shortly and they said that the
outcome looks at this point 0900 hours the 27th of Dec 09 that He will be
barred based on the videos he has on his phone.
Exh. 17.
134. In response, owner Kenneth Trascher wrote “Wow! Dave, seems like we need to
contact the brother.”
135. Trascher was referring to contacting Rahim’s brother, who operated the business
together with Rahim. Rather than terminate ties with a vendor who presented an obvious
security risk, Trascher was more concerned with preserving the continuity of business
operations
136. The British security forces extended their inquiry into Rahim and engaged in a
search of his quarters At the time, Rahim again was taken in for questioning by the
British forces operating the base at Camp Bastion.
137. During the search, the officers discovered numerous laptops and photo-enabled
cell phones in Rahim’s and his employees’ quarters Many of these electronics also had

100045031;91 - 41 -
lSt AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 44 of 57 Page|D# 654

suspect materials on them. In addition, during the interrogation by British forces Rahim
was hostile and uncooperative.

138. As a result of these findings the Military made the decision to add Rahim to the
“’l`errorist Watch List” and thereby bar the contractor from all US, UK, ISAF and NATO
military institutions worldwide. Under the terms of this prohibition, all business with
Rahim, either through him, his agents or family, was strictly prohibited

139. Rahim was released to the RECON camp, and prohibited from leaving for a
period of time while the investigation continued The British Military returned a cell
phone to Rahim, in the hopes of tracking calls and text messages to uncover additional
evidence or terror suspects During this time period, British military forces informed
Watton of their intent to add Rahim to the list of prohibited vendors

140. Based on information from Watton, Relator informed RECON owner Kenneth
Trascher at or around late December 2009 or early January 2010 that RECON had been
told by the British forces that doing business with Rahim was not simply a “RECON
security issue,” that it was a military security issue. Relator understood this to mean
contracting with Rahim would not be an option in the future, and conveyed this to
RECON’s owners He also told the owners that the Military had informed Watton if they
did not intend to comply, or if they attempted to warn Rahim, RECON could “pack their
things and go." Trascher became enraged by this comment.

141. In spite of that specific admonition, RECON owner David Cain sent a text
message to Rahim warning him of the pending ban. Shortly thereafter, Rahim was

expelled from the Camp, and his name was included among those who were prohibited

100045031;91 _ 42 -
1Sl AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 45 of 57 Page|D# 655

from doing business with or entering any US, UK, ISAF, or NATO military facility
worldwide.

142. News of Rahim’s ban was circulated to the owners of RECON, and all contractors
doing business in the region. RECON’s owners specifically knew that the prohibition
extended to parties acting on behalf of Rahim,

143. However, rather than risk a disruption in business RECON’s owners continued to
contract with Rahim through his brother Haji Jamil and cousin Homayoun. Throughout
2010, RECON routinely engaged Danyal Rahim’s business now operating under the
front of his family’s name, in order to procure goods for its various government contracts
144. RECON knowingly and intentionally violated an explicit security directive in
order to maintain business continuity and the low prices they had arranged with Rahim.
Security violation such as these could result in debarment, suspension, and lack of
contract renewal.

145. In international military operations, security is the highest priority to the
Govemment. It is essential contractors do not endanger military operations through
intentional violations of security regulations

146. In entering into contracts with the Govemment, RECON fraudulently affirmed
their intent to comply with applicable laws and regulations while knowing they were
going to continue to do business with a vendor who had been explicitly barred from
doing business with the Military because of national security concerns On information

and belief, most, if not all, of the contracts for operations at Camp Bastion or Camp

100045031;91 _ 43 _
1Sl AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 46 of 57 Page|D# 656

Leathemeck from the period of November 2009 through December 2010 involved
contact with and materials procured by Rahim.

147. Further, had the Govemment known that the materials used in the construction of
various camps across the Afghanistan region came from a suspected terrorist, it would
not have paid out claims All claims for payments based on goods RECON procured

through Rahim or his family members after Rahim was banned were therefore fraudulent.

VIIl. DEFENDANTS CAUSED FLUOR TO SUBMIT FALSE CLAIMS FOR
PAYMENT TO THE GOVERNMENT

148. From 2008 through 2010, RECON had over 1,000 employees working on more
than fifty different projects at over a dozen different sites in Afghanistan under the
LOGCAP IV subcontract. RECON, from the initiation of its operations in Afghanistan,
failed to hire individuals qualified to track contract operations and maintain the type of
documentation necessary to enable operations of this magnitude. Rather than hire United
States nationals with experience in government contracting, RECON would hire Indian,
Philippine, or Bosnian workers with little to no experience in contracting operations, and
no prior experience with United States Govemment contracts These employees were
never properly trained in Govemment contracting, and were not able to ensure RECON
met its contractual requirements RECON’s failure to institute a workforce capable of
maintaining basic records ensured RECON would not be able to accurately bill Fluor,
who in turn billed the Govemment, for the work RECON completed

149. From the period of September 2008 until October 2009, RECON did not have
staff in place to maintain databases and other records required for basic, proper contract

' management. RECON routinely failed to comply with basic contract requirements
100045031;91 _ 44 -
l$' AM. COMPLA[NT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 47 of 57 Page|D# 657

including performance specifications such as acquiring the proper amount of equipment
or hiring qualified personnel, and documentation requirements such as tracking costs
through the maintenance of accurate invoices and supporting data. Because of its
reckless disregard of the need to implement basic tracking systems for government
contracts (such as the LOGCAP IV contract), RECON was unable to perform basic
contract tasks such as the finalization of price terms based on demonstrated costs

150. RECON’s indifference to the need to document and account for its expenditures
and work on the LOGCAP IV contracts continued until Fluor threatened, and eventually
performed, an audit of RECON’s performance, which began in October 2009. Until that
date, RECON had failed to provide basic documentation required by the two Labor-Hour
Task Order Releases (002 and 004) and two construction Task Order Releases (001 and
003). Only when it was faced with the Fluor audit (and the prospect of being forced to
repay Fluor for its overbilling) did RECON see fit to hire three employees with some
experience in Govemment contracting While these RECON employees (Joseph
“Danny” Rider, John Galloway, and Jeffrey Mallory) had some Govemment contracting
experience, RECON’s failure to implement appropriate accounting and tracking systems
left them with little to no accurate or contemporaneous records with which to reconstruct
and support RECON’s prior work under the four Task Order Releases

151. The lack of trained employees and in tum, software and databases, capable of
tracking, recording, and reporting their performance under the LOGCAP IV subcontracts

led to the creation and submission of false or fraudulent records in three distinct ways

100045031;91 - 45 -
lSl AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 48 of 57 Page|D# 658

21.

¢00045031;91

Double billing for specific missions RECON failed to track, and then
submitted false information, regarding the MEB mission. RECON submitted
false and/or unverified documentation regarding the number of employees
working on the project, the availability of labor and equipment for the project,
and the duration of the project. RECON then billed the Govemment multiple
times for the same manpower and equipment.

Tracking labor hours and projects As described supra ‘]I‘H 59-65, RECON
was required to create and submit time sheets accurately reporting the time
employees worked and the projects on which they worked under TOR 002 and
004, RECON’s Labor-Hour contracts with Fluor. The number of hours
reported was the direct basis for RECON’s payment under these contracts In
addition, for TORs 001 and 003, RECON was required to document for
auditing purposes both the hours worked by employees and the projects on
which they worked. This information was used to support RECON’s costs
under the contract, used as the basis of fixing a final price, and to verify full
performance of the contract. RECON routinely directed employees to falsify
records involving employee time and projects Even after Fluor’s audit
exposed these deficiencies RECON did not implement a system to accurately
track either employee time or project work.

Tracking and reporting other costs In addition to tracking labor, RECON
was required to maintain records to verify costs of materials equipment, and
transportation, in order to support its payments from Fluor under its LOGCAP

-46_
lSt AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 49 of 57 Page|D# 659

IV subcontracts for the work RECON completed RECON did not accurately
track its costs contemporaneously with the performance of the work, but
instead amended its records after the fact_with no reliable information--to
submit cost information to Fluor during the course of an audit to ensure it got
paid.
152. In these three ways as further described below, RECON used false
documentation to support claims for payment to Fluor, which, in turn, was getting
reimbursed by the Govemment. Through the fabrication and use of these artificial
records, RECON inflated its costs and ultimately its profits In so doing, RECON was
able to conceal from both Fluor and the Govemment (l) the true amount of time worked
by RECON’s employees and (2) the amount spent on any of the contracts completed by
RECON, even those that were eventually paid based on provable costs RECON used
false records to “prove” its costs
A. Defendants Used On Multiple Contracts Equipment And Labor Exclusively
Designated for One Contract And Falsely Certified That Such Labor and

Equipment Was Available For Exclusive Use 24 Hours A Day, 7 Days A
Week

153. On March 13, 2009, RECON entered into Contract Modification Number 008
under Task Order Release 003 to provide “additional equipment and operators (2 cranes
4 fork-lifts and 15 tractor/trailer flat bed trucks), required for the loading, movement and
unloading of material and equipment from point of arrival to construction site at Camp
Bastion and FOB Tombstone for the Marine Expeditionary Battalion (MEB).” Within
RECON, this project was known as “the MEB mission.” A copy of the contract

modification is attached hereto as Exhibit 18 and incorporated herein. The MEB contract
100045031;91 - 47 -

1st AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 50 of 57 Page|D# 660

was established as a Limited Notice to Proceed with a Not-to~Exceed value of $450,000.
Per the modification, RECON was required to provide Fluor a detailed fixed-unit rate
proposal for the equipment as well as operators “to perform the off-loading transportation
operations on a 24 hours / 7 days a week basis for the full period of performance, 3/15/09
through 8/15/09.” Exh. 18.

154. In an April 6, 2009 email to RECON Contract Administrator Charles Priest
prompting him to provide RECON’s rate proposal, Fluor reminded RECON that the off-
loading equipment was for the exclusive use of the N[EB and should not be “part of the
FLE material handling equipment.” A copy of the email chain, which includes RECON’s
rate proposal, is attached hereto as Exhibit 19 and incorporated herein. The Forward
Logistic Elements (FI_.E) Contract was a separate contract between Fluor and RECON
that also required the use of heavy construction equipment. In direct response to this
email, RECON submitted its rate proposal to Fluor on April 16, 2009. Exh. 19.

155. The MEB mission involved the off-loading of cargo from military flights arriving
at the British Camp Bastion, and then relocating those materials to the U.S. Military
Camp Leathemeck. Because there was limited storage space for inbound materials at
Camp Bastion, immediate transportation of the materials to a secure location at
Leathemeck was necessary to prevent theft. It was because of this need to immediately
unload materials that the equipment and labor was required to be available 24 hours a
day, 7 days a week.

156. RECON rented its equipment for the ME.B mission from ZQCC, the same vendor

who supplied RECON with trucks to transport the river rock. RECON procured two

{00045031~.91 - 43 -
lSl AM. COMPLA[NT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 51 of 57 Page|D# 661

cranes and 16 trucks from ZQCC to complete the MEB mission. The local laborers
would drive their own trucks for the mission. RECON paid ZQCC $3,200 per month for
the trucks and $9,000 per month for cranes RECON could not obtain the forklifts
Costs for mobilizing and demobilizing the equipment as well as labor costs for the
operators/drivers were included in the flat rate, Costs for housing and feeding the
laborers at Camp Bastion were additional.

157. Upon the arrival of a flight into Bastion in need of unloading, the Military Air
Travel [MilAir] Logistics Officer would contact RECON or call Fahrudin Nuhic,
RECON’s supervisor for the MEB mission, to direct him to immediately commence
work unloading and transporting materials from Bastion to Leathemeck. Since the labor
and equipment was supposed to be reserved exclusively for use on the MEB contract,
deployment and unloading was expected to be immediate and swift. However, because
RECON routinely used the MEB labor and equipment on other contracts and thereby was
able to bill the government twice for these costs RECON often was unable to perform its
unloading duties and either the work fell to the U.S. Military personnel or the cargo was
left unprotected and delivered to Leathemeck late.

158. During March through August 2009, the period of performance of the MEB
contract, Relator was working at Camp Bastion/Leathemeck and regularly observed
RECON using on other projects including the Local Haul contract, transporting 'I`-Walls
contract, and other non-LOGCAP operations the equipment and labor that was supposed
to be dedicated exclusively to the MEB mission. Relator also had a close working

relationship with Fahrudin Nuhic, RECON’s supervisor for the MEB mission, and

{00045031; 91 _ 49 _
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 52 of 57 Page|D# 662

Mirwais Ahmed, who ran ZQCC, the vendor supplying the equipment and local labor for
the MEB mission. Both men were aware of RECON’s use of the same MEB labor and
equipment on multiple contracts, and discussed these abuses with Relator.
159. Specifically, project supervisor Nuhic complained to Relator that RECON was
requiring his team, which was hired exclusively for the MEB contract, to work on other
projects under the LOGCAP IV and other contracts RECON had around Camps
Leathemeck and Bastion, including the Local Haul contract (a project to provide local
transportation and material handling support on Forward Operating Bases in southern
Afghanistan). In addition, Relator observed that RECON regularly was using on multiple
projects the equipment that was supposed to be dedicated exclusively to the MEB
mission. As RECON’s LOGCAP IV Project Manager Rod Ward pointed out in an email
dated July 16, 2009, the type of shared use of MEB equipment and labor on multiple
projects that Relator observed was improper because it resulted in double billing the
Govemment. Exhibit 20. RECON routinely required the MEB laborers in addition to
supervisor Nuhic, to work twenty or more hours a day. Despite clear contractual

, requirements many of these hours were spent working on projects outside the MEB
contract, including the Local Haul contract. On at least three occasions Relator notified
RECON’s senior management of the improper use of the MEB equipment and labor
outside the MEB project with little to no effect.
160. In a July 16, 2009 email to LOGCAP IV Project Manager Rod Ward, on which
RECON owner Ken Trascher was copied, in an effort to keep RECON from firing certain

of the higher-cost Bosnian MEB laborers Relator recounted in detail all the work that

{0004503|;91 _ 50 _
1st AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 53 of 57 Page|D# 663

these MEB workers had done on non-MEB contracts including the Local Haul contract,
T-barriers project and other construction contracts at Leathemeck:
'I`he Afghan Truck drivers that operate the 17 trucks for MEB have to be
escorted from the F light line to Leathemeck and when they do local haul
and MEB missions the trucks break up in teams of three or four and
require one of our Bosnians to be with that team.
The Bosnians on that team work on call 24/7 at the flight line for the
MEB mission, they work days unloading 'I` Barriers at leathemeck and
fulfill all requirements of the Local Haul as well. These men also are
tasked as needed by Nermin at Leathemeck for the use of the cranes and
trucks to assist in his construction efforts at Leathemeck.
Exh. 20. Relator also told Ward and Trascher that these practices had been going on
since since at least March 2009,
161. On July 17, 2009, as part of this same email chain, Relator again noted to RECON
Project Manager Rod Ward that the MEB laborers were working on multiple projects
outside the MEB contract, explaining that “the same men work during the day at [Camp
Leathemeck] unloading t-walls are the same men working the MEB mission.” Exh. 20.
RECON owner Ken Trascher and other senior RECON employees were copied on this
email.
162. In his email response, Ward acknowledged the problems created by the
extracurricular use of MEB’s equipment, stating “the equipment for the MEB MUST be
different than that for the Local Haul. This is NOT an option because we are getting paid
for both missions separately. If this is not the case, then Nermin, you need to let
[RECON Contracts Manager] Charles [Priest] know so he can get more equipment there

to handle the local haul mission.” Acknowledging RECON’s failure, he went on to note

“We desperately need to put up more tents and get more equipment. We are being paid
100045031;91 - 51 -

lSl AM. COMPLA[NT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 54 of 57 Page|D# 664

fairly to provide these services We need to keep them segregated for accountability and
audit ability purposes.”
163. However, despite Ward’s directive, Relator observed, and through his relationship
with Ahmed, whose company ZQCC was the primary supplier of cranes and trucks to
Camp Leathemeck at the time, knew that RECON did not rent additional cranes or trucks
to fulfill the Local Haul and additional construction contracts As was typical for their
operations, RECON did not procure more equipment for the other non-MEB contracts
but continued instead to use the MEB equipment on multiple contracts to double its
government payments for the same equipment and avoid outlaying additional costs
164. In an email dated May 7, 2009, Relator also informed RECON’s Project Manager
and Country Manager, Joey and David Tagliabue that the MEB laborers were working
grueling hours in order to support both the MEB and Local Haul missions:
We have some 40 workers working for the MEB Project some of them are
putting in 24 hour and 23 hour days They are keeping a record of all the
hours they put in “overtime” and are anticipating being paid accordingly
for their extra efforts
Exh. 21.
165. In their roles as Project Manager and Country Manager, David and Joey
Tagliabue oversaw the procurement of the equipment and labor for the MEB and Local
Haul missions and knew that the MEB labor and equipment were being used for multiple
jobs in violation of the requirements of the contract modification with Fluor. During that
time, owners Dave Cain and Kenneth Trascher were also frequently “in-country” residing
at Camp Bastion/Leatherneck. The owners oversaw daily operations at the camp and
communicated with the Tagliabues about projects and equipment.

100045031;91 _ 52 _
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 55 of 57 Page|D# 665

166. In addition to being well-known within RECON, the fact that RECON was using
the MEB equipment on non-MEB contracts was observed by a Fluor employee as well.
At one point during RECON’s performance of the MEB contract, Fluor representative
John Vererka remarked to Relator upon seeing that RECON was using the MEB
equipment on the Local Haul contract, “Don’t tell me that’s the MEB equipment being
used on the Local Haul project.” Relator, unsure of the equipment’s use, declined to
answer. The dual-use of MEB equipment regularly slowed down LOGCAP construction
operations

167. At times due to the fact that it was using the MEB equipment and labor on other
projects RECON was unable to unload MEB cargo when needed, and the U.S. Air Force
or U.S. Marine Cargo personnel were forced to do the unloading work with its own
equipment to ensure the plane was off-loaded and redeployed in a reasonable amount of
time, As a result, materials were left on the tannac for extended periods of time. This
delayed operations at the airfield, as the military could not unload additional flights while
equipment was occupying the tarmac, and exposed the equipment to risk of damage or
theft. Furthermore, because Camp Bastion had limited secure storage space, materials left
at the Camp for extended periods were at risk of theft. RECOI\` was unconcerned with
these risks and the burden placed on Govemment in its pursuit of cost-cutting measures
168. Although it was aware of these deficiencies RECON was unwilling to increase
its costs by renting the additional equipment and hiring the additional labor necessary to
have one set dedicated exclusively to the MEB project and another set available to fulfill

its remaining contractual obligations RECON continued to use the MEB equipment and

100045031;91 - 53 .
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 56 of 57 Page|D# 666

labor on multiple projects throughout the six-month performance period for the MEB
contract from March through August 2009 and invoiced the government for work that it
knew violated the LOGCAP IV requirements

169. Overall, the MEB equipment was only available for the MEB mission for
approximately half the time required, because RECON used the equipment and labor for
other projects

170. RECON and Fluor did not negotiate a final price prior to completion of the
contract. Nevertheless RECON invoiced against its proposed cost for the months of
March through June, 2009. Although these invoices were not paid because the contract
was not finalized and RECON was later forced to revise and replace them with a new
invoice in the course of Fluor’s subsequent audit of RECON, they are nonetheless false
because RECON submitted them knowing that they had violated the exclusivity
provisions of the Fluor contract modification.

171. After performance of the MEB mission was completed in August 2009, a final
price still had not been determined for the MEB contract. RECON had submitted a
proposal, but Fluor had not accepted it. Richard Sober, an employee of Fluor who was
responsible for auditing RECON’s costs and closing out the contract, submitted a
settlement offer for the MEB contract on November 10, 2009. Sober proposed using the
equipment rates from RECON’s proposal ($11,902.50 for cranes $4,628.75 for trucks)
that included labor and maintenance, while paying $30 per person per day for housing
and $30 per person per day for food for the labor. He also agreed to pay $6,083.50 for

mobilization and demobilization of each piece of equipment. ln his email, Sober

100045031;91 - 54 -
lst AM. COMPLAINT

 

Case 1:11-cV-012O9-TSE-|DD Document 8 Filed 11/O9/12 Page 57 of 57 Page|D# 667

included necessary adjustments of previous invoices to correlate to these values In
addition he proposed paying the same rate for July and August, “dependent upon the
period of performance that this service was performed NEED TO VERIFY ACTUAL
COMPLET!ON DATE.” (Emphasis in original). The total proposed settlement was
$866,743 for performance of the services under the contract. A copy of the email chain is
attached hereto as Exhibit 22 and incorporated herein.

172. RECON revised its previous invoices under the MEB contract and replaced them
with Invoice 5961. However, Fluor would not process the invoice for payment until
RECON supplied supporting documentation,

173. RECON then began the process of collecting supporting documentation for the
MEB contract. However, consistent with RECON’s shoddy record-keeping in other
areas of its business (including time keeping and definitization of Task Order Releases
001 and 003), RECON lacked supporting documentation or any way to verify the proper
performance of the MEB contract.

174. In a series of emails, RECON employees attempted to get verification for labor,
equipment rentals and period of performance. RECON compiled a limited list of
invoices of equipment, and procured an affidavit from the subcontractor ZQCC that his
employees were paid This affidavit was in place of supporting documentation such as
time sheets and payment records, which RECON did not maintain. The Relator believes
based on conversations with Mirwais Ahmed, the owner and President of ZQCC, that the
employees were not in fact paid for the amount of time they worked on the multiple
contracts Instead, the Relator believes Ahmed was forced to sign the affidavits under

100045031;91 - 55 _
1st AM. COMPLAINT

 

